     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 1 of 19



David H. Krieger, Esq.
Nevada Bar No. 9086
HAINES & KRIEGER, LLC
8985 S. Eastern Ave., Suite 350
Henderson, NV 89123
Phone: (702) 880-5554
FAX: (702) 385-5518
Email: dkrieger@hainesandkrieger.com

Attorney for Plaintiff
JACYL D. TACANG

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                          :
JACYL D. TACANG,                          :
                                            Civil Action No.: ______
                                          :
                    Plaintiff,            :
      v.                                  :
                                          :
U.S. BANK HOME MORTGAGE,                  :
                                            COMPLAINT
                                          :
                    Defendant.            :
                                          :
                                          :

      For this Complaint, the Plaintiff, JACYL D. TACANG, by undersigned

counsel, states as follows:


                                 JURISDICTION

      1.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this action

arises under the Dodd-Frank Wall Street Reform and Consumer Protection Act
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 2 of 19



(DFA), the Truth in Lending Act (TILA), 15 U.S.C. §§ 1601, et seq., and the Real

Estate Settlement Procedures Act (RESPA), 12 U.S.C. §§ 2601, et seq.

      2.     This action is specifically filed to enforce regulations promulgated by

the Consumer Finance Protection Bureau (CFPB) that became effective on January

10, 2014, specifically, 12 C.F.R. §§ 1024.35, et seq., of Regulation X.

      3.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      4.     Supplemental jurisdiction exists (as applicable) pursuant to 28 U.S.C.

§ 1367 and this Court has original jurisdiction over Plaintiff’s RESPA/TILA

claims pursuant to 28 U.S.C. § 1331.

      5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                     PARTIES
      6.     The Plaintiff, JACYL D. TACANG (“Plaintiff” or “Mrs. Tacang”), is

an adult individual residing in Las Vegas, Nevada.

      7.     Defendant U.S. BANK HOME MORTGAGE (“Defendant” or “US

BANK”), was doing business in the State of Nevada at all times herein.
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 3 of 19



                 ALLEGATIONS APPLICABLE TO ALL COUNTS

       8.        On or about March 16, 2017, Plaintiff filed for Chapter 7 Bankruptcy

in the United States Bankruptcy Court for the District of Nevada pursuant to 11

U.S.C. §701 et seq. Plaintiff’s case was assigned Case Number 17-11255 (the

“Chapter 13” or “Bankruptcy”).

       9.        At the time the Bankruptcy was filed, Plaintiff was the owner of real

property located at and commonly known as 1209 Cobblestone Cove Rd., North

Las Vegas, NV 89081 (the “Property”) which was disclosed in the Bankruptcy

schedules.

       10.       Plaintiff, at all times relevant, has maintained and currently maintains

the Property as Plaintiff’s primary, principal residence.

       11.       Defendant is (or was) the servicer of a note (the “Note”) and a deed of

trust (the “DOT”) on the Property that allegedly secures the Note and DOT

(collectively referred to hereinafter as the “Loan”).

       12.       At all times herein, Plaintiff’s chief concern was to ensure that after

remaining current on the Loan – to the extent Defendant furnished information to

national credit bureaus about the Loan – that Defendant’s credit data reporting

about the Loan was accurately reflected in Plaintiff’s credit file to ensure a true

“fresh start”.
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 4 of 19



      13.    In January 2013, the CFPB issued a number of final rules concerning

mortgage markets in the United States, pursuant to the DFA, Public Law No. 111-

203, 124 Stat. 1376 (2010).

      14.    Specifically, on January 17, 2013, the CFPB issued the RESPA

(Regulation X) and TILA (Regulation Z) Mortgage Servicing Final Rules, 78 F.R.

10901 (February 14, 2013) and 78 F.R. 10695 (Regulation X) (February 14, 2013),

which became effective on January 10, 2014.

      15.    The Loan in the instant matter is a "federally related mortgage loan"

as said term is defined by 12 C.F.R. § 1024.2(b).

      16.    Defendant is subject to the aforesaid Regulations and does not qualify

for the exception for "small servicers”, as such term is defined in 12 C.F.R.

§1026.41(e)(4), nor does Defendant qualify for the exemption for a “qualified

lender”, as such term is defined in 12 C.F.R. § 617.700.

      17.    Plaintiff is asserting claims for relief against Defendant for breaches

of specific rules under Regulation X and Regulation Z, as set forth, infra.

      18.    Plaintiff has a private right of action under RESPA pursuant to 12

U.S.C. §2605(f) for the claimed breaches and such action provides for remedies

including actual damages, costs, statutory damages, and attorneys’ fees.
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 5 of 19



                  SPECIFIC FACTS GIVING RISE TO THIS ACTION

      19.    On or about August 22, 2017, Plaintiff sent correspondence to

Defendant captioned or otherwise titled “Request for Information Pursuant to 12

C.F.R. § 1024.36 and 15 U.S.C. § 1641(f)(2); Request for Payoff Statement

Pursuant to 12 C.F.R. § 1026.36(c)(3)” (the “RFI”) via certified mail, wherein

(among other items) Plaintiff requested a summary date Defendant furnished about

the Loan to any and all Credit Reporting Agencies, including but not limited to,

Experian, Equifax, Transunion, and CBC Innovis (“the CRAs”).

      20.    In part, Plaintiff’s RFI requested a month by month e-OSCAR report

relating to Defendant’s servicing of the Loan from the date the Bankruptcy was

filed to present (the “Loan Reporting Credit Data Request” or “LRCDR”).

      21.    Defendant received the RFI within a week of mailing.

      22.    As of the date of this complaint, Defendant failed to provide a proper,

substantive response to the LRCDR as requested in the RFI or provide a proper

objection to their obligation to provide such information.

      23.    On or about March 20, 2018, as a direct result of Defendant’s failure

to provide the information requested in response to the LRCDR, Plaintiff sent

additional correspondence to Defendant captioned or otherwise titled “Notice of

Error pursuant to 12 C.F.R. § 1024.35(b)(11); and Second Request for Information
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 6 of 19



pursuant to 12 C.F.R. §1024.36” (“NOE #1”) via certified mail again requesting

Defendant provide a response to the LRCDR.

      24.   In NOE #1 Plaintiff explained the importance of the LRCDR stating

(among other things):

            Your “response” was totally non-responsive to my credit reporting
            requests related to your servicing of my loan. The entire point of
            my request was to obtain the information you were providing to
            the credit bureaus after I filed my Chapter 13 bankruptcy to
            present, because the credit bureaus are suppressing the positive
            information you reported. I therefore need this information
            from you – since obviously know how you reported my mortgage
            while you serviced my loan – so I can send a letter to the credit
            bureaus asking them to report the information which they are
            automatically suppressing due to their policies. (emphasis in
            original)

      25.   Defendant received NOE #1 within a week of mailing.

      26.   As of the date of this complaint, Defendant again failed to respond to

the LRCDR as requested in NOE #1.

      27.   Given Defendant’s second failure to respond to Plaintiff’s RFI and

NOE #1, which both requested the LRCDR, on or about June 25, 2018, Plaintiff

sent correspondence to Defendant captioned or otherwise titled “SECOND Notice

of Error pursuant to 12 C.F.R. § 1024.35(b)(11); and THIRD Request for

Information pursuant to 12 C.F.R. §1024.36” (“NOE #2”) via certified mail.

      28.   Defendant received NOE #2 within a week of mailing.

      29.   As of the date of this complaint, Defendant again failed to provide

responsive information to the LRCDR or a valid objection as to why Defendant is
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 7 of 19



not required to provide such information as requested in NOE #2 (as well as NOE

#1 and the RFI).

      30.   Without the information requested by and through the LRCDR,

Plaintiff remains at a total informational disadvantage and is unable to conduct a

complete review as to the accuracy and completeness of Plaintiff’s credit “file” as

that term is defined pursuant to 15 U.S.C. §1681a(g).

      31.   Defendant reported credit data via “e-Oscar” to the CRAs in the

ordinary course of its business of servicing the Loan for the time periods

responsive to the LRCDR.

      32.   Defendant is in the best position to know with certainty what data it

furnished to CRAs regarding the Loan.

      33.   Defendant therefore was at all times herein the most reliable source of

data furnished to the CRAs and under a statutory obligation to provide Plaintiff

with a complete response to the LRCDR, since the LRCDR “relat[ed] to the

servicing of” Plaintiff’s Loan. See 12 C.F.R. §1024.35(b)(11).

      34.   Defendant retains and can reasonably and readily access information

furnished on the Loan to CRAs, which would be responsive to the LRCDR.

      35.   Defendant could have (if it chose) provided Plaintiff with responsive

data to the LRCDR.
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 8 of 19



      36.     Upon information and belief, the CRAs utilize their own internal

policies and procedures regarding data processing, which may result in data

furnished by servicers (like Defendant) to be “suppressed”.

      37.     “Suppressed” data would not be visible to consumers (like Plaintiff)

requesting a complete credit file pursuant to 15 U.S.C. §1681g(a) from the CRAs.

      38.     Plaintiff would be unable to request the CRAs update Plaintiff’s credit

files as needed without knowing what data the CRAs may (or may not have)

suppressed.

      39.     A complete response to the LRCDR would accordingly extract

Plaintiff from the current informational disadvantage and put Plaintiff in a position

to conduct a complete review of Plaintiff’s credit files to ensure the benefit of the

“fresh start” and Defendant’s positive credit data reporting are reflected in

Plaintiff’s credit files maintained with the CRAs.

      40.     Accordingly, without the benefit of a complete response to the

LRCDR, consumers like Plaintiff are simply unable to determine whether their

credit file is “accurate” and “complete” as those terms are meant pursuant to 15

U.S.C. §1681i(a)(5)(A); and/or whether the CRAs followed “reasonable

procedures to assure maximum possible accuracy” of Defendant’s furnished data

regarding the Loan as required pursuant to 15 U.S.C. §1681e(b).
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 9 of 19



      41.    Through the LRCDR, Defendant’s responsive data would permit

Plaintiff to do a “side by side” comparison of 1) Plaintiff’s credit file and 2) the

LRCDR responsive data.        This would allow Plaintiff to ensure that the data

furnished about the Loan by Defendant is in sync with Plaintiff's consumer files

(upon a request to the CRAs).

      42.    Stated differently, without a response to the LRCDR, Plaintiff simply

is not is a position to know whether Plaintiff’s consumer file is reflective of all the

positive data being furnished by Defendant or if erroneous adverse credit

information is being reported, to allow Plaintiff to inform the CRAs of such errors

and maintain a complete and accurate credit file.

      43.    Defendant’s failure to provide the LRCDR in response to the RFI,

NOE#1 and/or NOE#2 resulted in numerous servicing errors of the Loan by

Defendant engaging in the following acts:

      • Failing to supply requested information in a timely manner that would
        enable Plaintiff to ensure Defendant’s data furnishing on the Loan was
        consistent with the timely Loan payments;

      • Failing to properly respond to or otherwise correct errors in the servicing
        of the Loan of which Plaintiff has put Defendant on notice; and

      • Improperly concealing information from Plaintiff relating to the servicing
        of the Loan, which Defendant furnished to national credit reporting
        agencies that are the subject of such noticed errors.
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 10 of 19



      44.    Defendant’s improper actions have caused Plaintiff to incur a number

of unwarranted costs and fees in an effort to obtain transparency about the routine

servicing of the Loan vis-à-vis Defendant’s credit reporting on the Loan.

      45.    Plaintiff at all times relevant, has merely wanted to pay (and has paid)

ongoing monthly mortgage payments in fulfillment of the Loan obligations and to

continue to rehabilitate Plaintiff’s credit following Bankruptcy and reap the full

benefits of the “fresh start” to which Plaintiff is entitled following Bankruptcy.

      46.    All attempts and requests for the LRCDR have fallen on deaf ears and

any response Defendant has supplied has been dismissive, vague, or otherwise

unhelpful and non-responsive in dereliction of its statutory duties discussed herein.

      47.    Defendant’s improper actions have caused Plaintiff continued costs

and damages. Indeed, Plaintiff remains unable to conduct a complete credit file

review and incurred significant costs in time, mailing and travel expenditures to

resolve Defendant’s errors.

      48.    Defendant’s wrongful and willful actions have caused Plaintiff to

suffer emotional distress driven by the fear that Plaintiff will never be in a position

to obtain a complete and transparent credit file, which has resulted in frustration,

anger, feelings of helplessness and intimidation, and other emotional distress as

well as out of pocket expenses to, among other things, paying for mailing costs,
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 11 of 19



stamps, paper, ink, gas, and lost time to prepare, mail and review NOE #1 and

NOE #2.

    COUNTS 1 THROUGH 3: VIOLATIONS OF 12 C.F.R. § 1024.36(d)
  (Failure to respond in a timely manner to a request for information issued
                       pursuant to 12 C.F.R. § 1024.36)

      49.    Plaintiff restates and incorporates herein all of the statements and

allegations contained in the preceding paragraphs in their entirety, as if fully

rewritten.

      50.    12 C.F.R. §1024.36(a) provides, in relevant part, that a request for

information may consist of “any written request for information from a borrower

that includes the name of the borrower, information that enables the servicer to

identify the borrower's mortgage loan account, and states the information the

borrower is requesting with respect to the borrower's mortgage loan.”

      51.    Comment 1 of the Official Interpretations of the CFPB to 12 C.F.R.

§1024.36(a) provides that “[a]n information request is submitted by a borrower if

the information request is submitted by an agent of the borrower.”

      52.    12 C.F.R. § 1024.36(d)(1) provides, in relevant part, that:

             [A] servicer must respond to an information request by
             either:

             (i) Providing the borrower with the requested
                  information and contact information, including a
                  telephone number, for further assistance in writing; or
             (ii) Conducting a reasonable search for the requested
                  information and providing the borrower with a written
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 12 of 19



                 notification that states that the servicer has determined
                 that the requested information is not available to the
                 servicer, provides the basis for the servicer's
                 determination, and provides contact information,
                 including a telephone number, for further assistance

      53.   Furthermore, 12 C.F.R. § 1024.36(d)(2)(i) provides that:

            A servicer must comply with the requirements of
            paragraph (d)(1) of this section:

            (A) Not later than 10 days (excluding legal public
               holidays, Saturdays, and Sundays) after the servicer
               receives an information request for the identity of, and
               address or other relevant contact information for, the
               owner or assignee of a mortgage loan; and
            (B) For all other requests for information, not later
               than 30 days (excluding legal public holidays,
               Saturdays, and Sundays) after the servicer receives the
               information request.

      54.   Plaintiff sent an RFI to Defendant on or about August 22, 2017,

March 20, 2018, and June 25, 2018. Plaintiff sent each RFI to Defendant at its

self-designated address for the receipt of such correspondence pursuant to 12

C.F.R. § 1024.36(b).

      55.   The RFI (and each of them), in part, constituted a request for

information pursuant to 12 C.F.R. §1024.36(a) as each RFI requested information

“with respect to the borrower's mortgage loan.”

      56.   Defendant received each of the RFIs within a week of the above

mailing dates.
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 13 of 19



      57.    Pursuant to 12 C.F.R. §1024.36(d)(2)(i)(B), Defendant was required

to provide written correspondence to Plaintiff in response to Plaintiff’s RFIs “not

later than 30 days (excluding legal public holidays, Saturdays, and Sundays) after

the servicer receives the information request”, as contained in the RFI,           in

compliance with the requirements of 12 C.F.R. § 1024.36(d)(1) (the “RFI

Response Deadlines”).

      58.    Plaintiff never received any written correspondence from Defendant

containing a proper, substantive response to the LRCDR or otherwise containing a

proper, valid objection as to why Defendant was not required to so respond to the

LRCDR by the RFI Response Deadlines and Defendant therefore failed to comply

with the requirements of 12 C.F.R. §1024.36(d)(1) by the RFI Response Deadlines.

      59.    Defendant’s    actions,   in   failing   to   provide   proper   written

correspondence to Plaintiff in response to Plaintiff’s RFIs for the LRCDR before

the RFI Response Deadlines, constituted a willful violation of 12 C.F.R.

§1024.36(d).

      60.    Defendant’s actions are believed to be a pattern and practice of

behavior in conscious disregard for Plaintiff’s rights.

      61.    As a result of Defendant’s actions, Defendant is liable to Plaintiff for

actual damages, statutory damages, costs, and attorneys’ fees.
     Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 14 of 19




    COUNTS 4 THROUGH 5: VIOLATIONS OF 12 C.F.R. § 1024.35(e)
 (Failure to properly respond to notices of error issued pursuant to 12 C.F.R.
                                  §1024.35)

      62.    Plaintiff restates and incorporates herein all of the statements and

allegations contained in the preceding paragraphs in their entirety, as if fully

rewritten.

      63.    12 C.F.R. § 1024.35(a) provides, in relevant part, that “[a] servicer

shall comply with the requirements of this section for any written notice from the

borrower that asserts an error and that includes the name of the borrower,

information that enables the servicer to identify the borrower's mortgage loan

account, and the error the borrower believes has occurred.”

      64.    12 C.F.R. 1024.35(e)(1)(i) provides that a servicer must respond to a

notice of error by either:

             (A) Correcting   the error or errors identified by the
                 borrower and providing the borrower with a written
                 notification of the correction, the effective date of the
                 correction, and contact information, including a
                 telephone number, for further assistance; or
             (B) Conducting a reasonable investigation and providing
                 the borrower with a written notification that includes a
                 statement that the servicer has determined that no
                 error occurred, a statement of the reason or reasons
                 for this determination, a statement of the borrower's
                 right to request documents relied upon by the servicer
                 in reaching its determination, information regarding
                 how the borrower can request such documents, and
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 15 of 19



               contact information, including a telephone number,
               for further assistance.

      65.   Further, 12 C.F.R. § 1024.35(e)(3)(i) provides, in relevant part:

            A servicer must comply with the requirements of
            paragraph (e)(1) of this section:
            (A) Not later than seven days (excluding legal public
               holidays, Saturdays, and Sundays) after the servicer
               receives the notice of error for errors asserted under
               paragraph (b)(6) of this section.
            (B) Prior to the date of a foreclosure sale or within 30
               days (excluding legal public holidays, Saturdays, and
               Sundays) after the servicer receives the notice of
               error, whichever is earlier, for errors asserted under
               paragraphs (b)(9) and (10) of this section.
            (C) For all other asserted errors, not later than 30 days
               (excluding legal public holidays, Saturdays, and
               Sundays) after the servicer receives the applicable
               notice of error.

      66.   Plaintiff sent NOE #1 to Defendant on or about March 20, 2018 to the

address self-designated by Defendant for the receipt of such correspondence

pursuant to 12 C.F.R. § 1024.35(c).

      67.   NOE #1 constituted a notice of error as such term is defined in 12

C.F.R. § 1024.35(a).

      68.   Defendant received NOE #1 within a week of mailing NOE #1.

      69.   As of the date of this complaint, Defendant failed to provide

responsive information to the LRCDR even though Defendant was on notice of its

failure to provide same through Plaintiff’s NOE #1.
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 16 of 19



      70.   The failure to provide a response to the LRCDR addressed in NOE #1

resulted in the errors addressed in NOE #1 remaining uncorrected. Further

Defendant did not communicate the effective date it made any corrections (which

would have been remedied in part by providing a response to the LRCDR) thereby

failing to comply with 12 C.F.R. 1024.35(e)(1)(i)(A).

      71.   Further, at no point in time in did Defendant provide a response to

NOE #1 explaining that in fact that no error(s) occurred with an explanation as to

the reason(s) for such determination(s) after performing a reasonable investigation

into such pursuant to 12 C.F.R. 1024.35(e)(1)(i)(B).

      72.   Defendant’s actions, in failing to provide a proper response to the

LRCDR as expressed in NOE #1, and previously RFI #1, failed to meet the

express, explicit requirements of either 12 C.F.R. 1024.35(e)(1)(i)(A) or 12 C.F.R.

1024.35(e)(1)(i)(B).

      73.   As Plaintiff’s issues remained unresolved, Plaintiff sent NOE #2 to

Defendant on or about June 25, 2018 reiterating the unresolved and non-responsive

communication from Defendant regarding the multiple failures to provide the

LRCDR. Defendant sent NOE #2 to the address self-designated by Defendant for

the receipt of such correspondence pursuant to 12 C.F.R. § 1024.35(c).

      74.   NOE #2 constituted a notice of error as such term is defined in 12

C.F.R. § 1024.35(a).
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 17 of 19



      75.   Defendant received NOE #2 within a week of mailing NOE #2.

      76.   As of the date of this complaint, Defendant failed to provide

responsive information to the LRCDR even though Defendant was on notice of its

failure to provide same through Plaintiff’s NOE #2, and previously RFI #1 and

NOE #1.

      77.   The failure to provide a response to the LRCDR addressed in NOE #2

resulted in the errors addressed in NOE #2 remaining uncorrected. Further,

Defendant did not communicate the effective date it made any corrections (which

would have been remedied in part by providing a response to the LRCDR) thereby

failing to comply with 12 C.F.R. 1024.35(e)(1)(i)(A).

      78.   Further, at no point in time in did Defendant provide a response to

NOE #2 explaining that in fact that no error(s) occurred with an explanation as to

the reason(s) for such determination(s) after performing a reasonable investigation

into such pursuant to 12 C.F.R. 1024.35(e)(1)(i)(B).

      79.   Defendant’s actions, in failing to properly respond to the LRCDR as

expressed in NOE #2, and previously RFI #1 and NOE #1, failed to meet the

express, explicit requirements of either 12 C.F.R. 1024.35(e)(1)(i)(A) or 12 C.F.R.

1024.35(e)(1)(i)(B).
    Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 18 of 19



      80.      Defendant’s actions, in failing to provide a response to the NOEs that

meets the explicit and express requirements of 12 C.F.R. § 1024.35(e), constitutes

willful violations of 12 C.F.R. § 1024.35(e).

      81.      Defendant’s actions are believed to be a pattern and practice of

behavior in conscious disregard for Plaintiff’s rights.

      82.      As a result of Defendant’s actions, Defendant is liable to Plaintiff for

actual damages, statutory damages, costs, and attorneys’ fees.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant

awarding Plaintiff:

      1. Actual damages pursuant to 12 U.S.C. §2605(f)(1);

      2. Statutory damages pursuant to 12 U.S.C. §2605(f)(2) for each and every

            violation discussed above;

      3. Costs of litigation and reasonable attorney’s fees pursuant to 12 U.S.C.

            §2605(f)(3); and

…




…
   Case 2:18-cv-01431-JCM-CWH Document 1 Filed 08/02/18 Page 19 of 19



     4. Any other legal or equitable relief that the court deems appropriate.

            TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: August 2, 2018

                                      Respectfully submitted,

                                      By /s/ David H. Krieger, Esq.

                                      David H. Krieger, Esq.
                                      Nevada Bar No. 9086
                                      HAINES & KRIEGER, LLC
                                      8985 S. Eastern Avenue, Suite 350
                                      Henderson, Nevada 89123
                                      Phone: (702) 880-5554
                                      FAX: (702) 385-5518
                                      Email: dkrieger@hainesandkrieger.com

                                      Attorney for Plaintiff
                                      JACYL D. TACANG
